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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION

                                  FILED ELECTRONICALLY

 ASHLEY MALONE,
                           Plaintiff,                 Case 3:14-CV-00152-CRS-JDM
 v.

 PORTFOLIO RECOVERY                                    NOTICE OF SETTLEMENT
 ASSOCIATES, LLC,
                       Defendant.
 _______________________________)


        Please take notice that Plaintiff, Ashley Malone, individually, has resolved this dispute

 with Defendant, Portfolio Recovery Associates, LLC. Within the next thirty to forty-five days,

 Plaintiff, individually, and Defendant anticipate filing a Joint Stipulation of Dismissal with

 Prejudice, which dismisses all of the Plaintiff’s individual claims against Defendant, known or

 unknown, and which were asserted or which could have been asserted, in the above styled action.

        This the 31st day of May, 2018.

                                             Respectfully submitted,

                                             /s/ R. Brooks Herrick
                                             Joseph N. Tucker
                                             R. Brooks Herrick
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                                             Associates, LLC
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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 31, 2018 the foregoing was filed electronically using the
 Court’s CM/ECF system, which served an electronic copy upon the following:

 James R. McKenzie
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 Counsel for Plaintiff, Ashley Malone



                                           /s/ R. Brooks Herrick
                                           Counsel for Defendant, Portfolio Recovery
                                           Associates, LLC


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